Case 3:13-cv-00331-GPC-KSC Document 173-11 Filed 07/06/17 PageID.9570 Page 1 of 5




                       EXHIBIT J
                  D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                      USDC Case No.: 13:cv-00331-GPC-KSC
                 (Exhibits to Declaration of Marshall J. Shepardson
             In Support of Opposition to Motion for Summary Judgment)
              Case 3:13-cv-00331-GPC-KSC Document 173-11 Filed 07/06/17 PageID.9571 Page 2 of 5




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Case 3:13-cv-00331-GPC-KSC Document 173-11 Filed 07/06/17 PageID.9572 Page 3 of 5




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                    Case 3:13-cv-00331-GPC-KSC Document 173-11 Filed 07/06/17 PageID.9573 Page 4 of 5




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Case 3:13-cv-00331-GPC-KSC Document 173-11 Filed 07/06/17 PageID.9574 Page 5 of 5
